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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 URSULA NICHOLE WILLIAMS, on                      CASE NO. 4:20-cv-01900
 behalf of herself and all others
 similarly situated,

                        Plaintiff,

 v.

 LAKEVIEW LOAN SERVICING,
 LLC, et al.,

                         Defendants.
                                            /

      DEFENDANT LAKEVIEW LOAN SERVICING, LLC AND LOANCARE, LLC’S
                 CERTIFICATE OF INTERESTED PARTIES
       Defendants Lakeview Loan Servicing, LLC and LoanCare, LLC, hereby certifies the following

listed persons or entities have either a financial interest which could be substantially affected by the

outcome of this particular case:

       1. Defendant Lakeview Loan Servicing, LLC (“Lakeview”) is a Delaware limited liability

company. Lakeview’s sole member is Bayview MSR Opportunity Corp. (“Bayview MSR”), a Delaware

limited liability company. Bayview MSR is 100% owned by Bayview MSR Opportunity Master Fund,

L.P. Neither Lakeview nor its parent are publicly held.

       2. Defendant LoanCare, LLC is a limited liability company, whose sole member is ServiceLink
NLS, LLC. ServiceLink NLS, LLC’s sole member is ServiceLink Holdings, LLC. ServiceLink

Holdings, LLC has a majority member, ServiceLink Holdings, Inc. ServiceLink Holdings, Inc. is a

subsidiary of Fidelity National Financial, Inc., which is a publicly traded company.

       3. All counsel of record for Defendants:

       FIDELITY NATIONAL LAW GROUP
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 Dated: July 29, 2020                        Respectfully submitted,
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                                             LoanCare, LLC



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                                  CERTIFICATE OF SERVICE
       I hereby certify that this document filed through the ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic File (NEF) on July 29, 2020.


                                               /s/Gregory Brewer___
                                               GREGORY BREWER




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